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             Exhibit F
To:      Freedman, David[dfreedman@jpmorgan.com]
From:             Case
                    Case1:22-cv-02541-TNM
                          1:24-cv-05874-NRB Document
                                                Document
         Harriet Edelman[/O=EXCHANGELABS/OU=EXCHANGE  120-2
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(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=D5549419B8614DE7988A78DF0B2CAEF8-HARRIET EDE]
Sent:    Thur 4/28/2022 4:27:08 PM (UTC-04:00)
Subject: Re: Suggested response to RC email


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From: Freedman, David <dfreedman@jpmorgan.com>
Sent: Thursday, April 28, 2022 4:12:22 PM
To: Harriet Edelman <Harriet.Edelman@Consultant.Bedbath.com>; Mark Tritton <Mark.Tritton@bedbath.com>; Arlene Hong
<Arlene.Hong@bedbath.com>; Paul J. Shim (pshim@cgsh.com) <pshim@cgsh.com>
Subject: Suggested response to RC email


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links, especially from unknown senders.


 Harriet.

 Here is what Paul and I came up with as a suggested response.

 Ryan,

 Thank you for sharing your thoughts[; I have forwarded your email to the entire board]. The board has been discussing these
 specific issues actively. In particular, we are very focused on the operating plan, and we monitor and adjust our capital allocation
 decisions in light of business, market and macroeconomic considerations. As for the Strategic Committee, I can assure you that the
 Committee’s work is not distracting the board or management from these other key issues.

 May I suggest that you, Mark and I have a call in the second week in June to discuss the business? Perhaps Gustavo should join the
 call too, as his knowledge may be valuable in the conversation. Since you have spoken about the possibility of your buying more
 shares, we will make sure that we do not give you any material non-public information that would interfere with your ability to trade.

 Best,

 Harriet

 You should make edits to put it in your voice, but we think that draft hits the right points.

 Regards,

 David Freedman, CFA
 Vice Chairman
 Global Head of Shareholder Engagement and M&A Capital Markets
 J.P. Morgan
 383 Madison Avenue, 28th Floor
 New York, NY 10179
 david.freedman@jpmorgan.com
 Office: 212-272-4209
 Mobile: 917-406-9889




 From: Harriet Edelman [mailto:Harriet.Edelman@Consultant.Bedbath.com]
 Sent: Wednesday, April 27, 2022 6:12 PM
 To: Mark Tritton <Mark.Tritton@bedbath.com>; Arlene Hong <Arlene.Hong@bedbath.com>; Paul J. Shim (pshim@cgsh.com)
 <pshim@cgsh.com>; Freedman, David (CIB, USA) <dfreedman@jpmorgan.com>
Subject: RC email -Case
                   4/27/22 6:00 pm ET
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Please see the communication just received.
H
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From: Ryan Cohen <ryan@rcmail.com>
Sent: Wednesday, April 27, 2022 6:04 PM
To: Harriet Edelman
Subject: Follow up


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links, especially from unknown senders.

Harriet -
Thank you again for continuing to engage with me, particularly following last quarter's disappointing results. I'm
spending a lot of time working with my team to analyze the company's current state and go-forward
needs/opportunities. Here are a few high-level thoughts I would like to get your view on and also have sent to
the full Board:

     • SG&A should be cut as much as possible and as quickly as possible. While I'm sure management
     had the best of intentions when it envisioned heightened SG&A supporting growth, the reality is that the
     company has not been able to stem the tide of market share losses for many years -- and it's hard to see
     a viable path to growth. The board has an obligation to be safeguarding capital and, quite frankly, heavily
     scrutinizing management's tactics and forecasting in light of recent events.
     • The scope of management's strategy needs to be immediately reduced to mitigate unnecessary
     CapEx, SG&A and risky bets. The Board needs to direct management to narrow its 2020 cover-the-
     waterfront strategy. In the near term, the business needs to be run defensively and like a private equity
     portfolio company. I'd hope the Board has already asked management for a much narrower operating
     plan. If not, I hope one is requested and received within the next 2 weeks.
     • Two areas that deserve particular focus are advertising spend and store renovations. Advertising spend
     continues to rise both in absolute dollars and as a percentage of sales. This despite revenue weakness
     and management commentary that there have been hundreds of millions of dollars in lost sales due to
     inventory shortages. Why is the team spending more on advertising when there's insufficient inventory on
     hand to sell? In light of recent and expected near-term results, store renovation pace should be slowed to
     conserve capital and gather more data on renovated store performance.
     • Capital allocation priority should be share repurchases. The Board needs to think about risk
     management for shareholders, especially in light of the results we're expecting in coming quarters. The
     best risk-adjusted use of capital is likely going to be opportunistically repurchasing shares, particularly if
     the share price is below where the company was recently buying back shares. I would be supportive of
     the company authorizing another repurchase program even if it takes time to execute.
     • Don't make the strategic review process a distraction. I want the new review committee to carry out
     a robust process to see if there are alternative paths to maximizing shareholder value for BABY or the
     company. With that said, the committee should function efficiently and not become a source of distraction
     for the full board or management. There shouldn't be wheel-spinning if the credit markets continue to
     tighten and the global environment makes deal-making too tough. The full board and management should
     be laser-focused on cost containment, narrowing the strategy and stemming the bleeding. Since we're
     under an agreement, there's mutual respect, and I'd like to hear your views via phone or email on these
     points. This is a partnership now and it shouldn't be a one-way conversation. We have to work together to
     get this business turned around as quickly as possible. I'm looking forward to collaborating with you often.


Best,
Ryan
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